Case No. 1:24-cv-02200-MEH             Document 9    filed 08/14/24     USDC Colorado     pg 1
                                              of 2




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EDGAR A. CORTES-GALVAN

                            UNITED STATES DISTRICT COURT
                               DISTRICT OF COLORADO


 GEORGIA RAE SMITH                                   Case No.: 1:24-cv-02200-MEH

 Plaintiff,

 vs.

 EDGAR A. CORTES-GALVAN                              DEFENDANT’S FED. R. CIV. P. 7.1
                                                     DISCLOSURE STATEMENT
 Defendant.




        Defendant Edgar Cortes-Galvan (“Defendant”), through undersigned counsel Knight

Nicastro Mackay, LLC, submit his disclosure pursuant to Fed. R. Civ. P. 7.1(a)(2):

        Defendant Edgar Cortes-Galvan is a resident and citizen of the state of Kansas.

Dated this 14th day of August, 2024.

                                             KNIGHT NICASTRO MACKAY, LLC

                                             By:     /s/ Jennifer W. Vedra
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                                                     Galvan
Case No. 1:24-cv-02200-MEH          Document 9        filed 08/14/24     USDC Colorado         pg 2
                                           of 2




               CERTIFICATE OF ELECTRONIC FILING AND SERVICE

       I certify that on this 14th day of August, 2024, I electronically filed and served a true and

correct copy of the foregoing via CM/ECF upon all counsel of record.

                                             /s/ Jennifer W. Vedra
                                             Jennifer W. Vedra
                                             A copy of this filing will be maintained in
                                             accordance with C.R.C.P. 121 § 1-26(7).
